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         UNITED STATES DISTRICT COURT FOR THE DISTRICT OF UTAH
                           CENTRAL DIVISION

 IN RE POLARITYTE, INC. SECURITIES
 LITIGATION,                                       ORDER GRANTING JOINT MOTION
                                                   FOR APPROVAL OF STIPULATION
 THIS DOCUMENT RELATES TO:                          SETTING BRIEFING SCHEDULE
 All Actions                                        FOR DEFENDANTS’ MOTION TO
                                                       DISMISS THE AMENDED
                                                            COMPLAINT

                                                     Case No. 2:18-cv-00510-JNP-PMW
                                                   (Consolidated with 2:18-cv-00541-JNP)

                                                        District Judge Jill N. Parrish
                                                  Chief Magistrate Judge Paul M. Warner



       Based on the stipulation proposed by the parties in their Joint Motion for Approval of

Stipulation Setting Briefing Schedule for Defendants’ Motion to Dismiss the Amended Complaint,

and good cause appearing therefor, the court hereby GRANTS the motion and orders as follows:

       1.     Lead Plaintiff shall file his Opposition to Defendants’ Motion to Dismiss the

Amended Complaint by August 2, 2019.
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2.     Defendants shall file their reply thereto by September 13, 2019.

IT IS SO ORDERED.

DATED this 30th day of April, 2019.

                                     BY THE COURT:



                                     _______________________________________
                                     PAUL M. WARNER
                                     Chief United States Magistrate Judge
